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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 0:21-cr-60083-AHS-2


     UNITED STATES OF AMERICA,

            Plaintiff,

     vs.

     THONY GUILLAUME,

           Defendant.
     __________________________________________/

                                NOTICE OF APPEARANCE
                                 (TRIAL LEVEL ONLY)

            JOFFE LAW, P.A., and DAVID J. JOFFE, ESQUIRE, hereby enters its

     appearance as attorney of record for the Defendant, THONY GUILLAUME, for trial

     level only.

                               CERTIFICATE OR SERVICE

            I HEREBY CERTIFY that on March 29, 2021, I electronically filed the foregoing

     document with the Clerk of the Court using CM/ECF.


                                                      Respectfully submitted,

                                                      JOFFE LAW, P.A.
                                                      Attorneys for Defendant
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                                                      By   /s/
                                                           DAVID J. JOFFE, ESQUIRE
                                                           FLORIDA BAR NO. 0814164
